                                                                          rapRK'sOFFICE U.s.Dlsmcour
                                                                                   ATROANOKE,VA
                      IN I'H E U NITED STATESDISTM CT COU RT                           FILED
                      FO R T H E W ESTE RN D ISTRICT O F W RGIN IA                 DE2,1i 2213
                                   ROAN O U D IW SIO N                        JUL C. DLEX nlFRK
   C ART.A A.CLE H M
                                                                            sv:
                                                                               .
                                                                                   A.
                                                                                   '
                                                                                   oEiur.
                                                                                        vcuuR

         Plaintiffy                               CivilAction N o.7:16Lcv-00012

   V.

   BAE SYSTE M S O RD N AN CE                     By:H on.M ichaelF.U rbansld
   SY STEM S,IN C.,ptp-t,
                       -a                         ClziefUnited StatesDistrictJudge
         D efendants.

                               M EM O RAN D U M O PTN IO N

         Thismatterisbeforethecoutton incatcerated defendantloshuaLinkous'p-m .
                                                                              K
   post-trialmoéon fotanew trialot,in thealtetnative,relieffrom judgment,pursuanttoRule
   59andRule60oftheFederalRulesofCivilliocedure,respecdvely.ECF Nos.224-227.
   Thiscasearisesfrom m uldple instancesofsexualassaultand battery pem ettated by

   defendantloshuaLinkousrtinkous'')againstplninéffCarlaClehm (<fclehm'')whileb0th
   were em ployed by BAE System s,Inc.attheRadford Arm yA m m unidon Plantin Radfozd,

   Virgirlia.Linkous'pleaofgul
                             'ltyonJune30,2015,and concomitantconvicéon forabusive
   sexualcontactinvioladonof18UIS.C.j2244(a)(1),estoppedhim from contestingliability
   asto the state assaultand battery clnim alleged in Count11ofthe Clehm 'sCom plaintand

   SecondAmendedComplaint.See18U.S.C.j3664$.Theciviltrialon CountI1,conducted
   onAugust23,2018,wasthezefoêelimited to thequesdon ofdamages.Thejuryzetarned a
   verdictinfavorofClehm in theamountof$500,000in compensatorydsmagesand $250,000
   in puniéve dam ages.Linkouscontends,am ong otherthings,thatthevetdictisexcessiveand

   requeststhecolzrtto orderanew ttialor,in thealternadve,gtanthim reliefftom judgment.


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   Linkousrecites,albeitin a ctusory and conclusorym anner,alitany ofgrievancesand exactly

   the sam egroundsin suppot'tofboth m oéons.Clehm arguesthatLinkous'm odonsare

   entirely withoutm eritand m ustbe del ed.Thepne eshavebriefed theissue m aldng this

   m atterripe fozthecourt'sconsideradon.Upon a thorough teview oftherecord and forthe

   reasonsset1-
              0:th herein,Linkous'm odonsateD EN IE D .

                                              1.

          ln heracdon againstdefendantloshuaLinkous,plaindffCarlaClehm alleged that
   whilewotkingattheRadfotdArmyAmmunition PlanttdfA.
                                                   rsenal'hl,shewassexually
   assaulted and battered on two occasionsby Linkous.ECF N o.59,3-4.From early 2014 to

   2015,Clehm worked asaffhelper''in theTub House,afacllitylocated within the

   NitrocelluloseAreaoftheAtsenal.J-d.at6.Linkousworked within thissem earea,butasa

   NitrocelluloseChiefOpetator(TfNCCOJ) knowncoioquiallyasafTt'ubhouseclzief.''Id.at
   4.Clehm w assexually assaulted byLinkousatwork on t'wo occasions,once on M ay 19,

   2014,andagain on oraboutlune5,2014.ida.at5-6.W ithrespectto theMay 19incident,
   Clehm clnim sLinkouscam eup behind heras shewasleaving a building atwork and told het

   heneeded to ask hetsom ething.W hen shetried to walk away,Linkousgrabbed hetclothing,

   ptzlled hertowardslnim ,and repeatedly quesdoned heraboutlaiswife'ssupposed inhdelity.

   H e then suggested they have sex asrevengeagainstl'
                                                     liswife.Clehm told Linkousthatshe

   wasnotinterested andthatshehad togetbackto herjob.LinkoustoldClehm to lethim
   know anything she saw orheard and to keep in touch and so forth.A co-workerwitnessed

   someoftheincident$eintermptedtheincidentandspoketoLinkous),andlaterreported
   w hathesaw to hllm an resources.Clehm w assexually assaulted and battezed again by


                                               2

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   Linkouson oraroundJune5aftervisiting herlocker.In thestatementoffacts
   accompanying Linkous's/1111 plea,Linkousadm itted to the following with respectto the

  June2014 assault:
                                       '

                InJune2014,1saw Vicnm
                                    o 2gclehmjathezlockez,nearthe
                bteak room in the Tub H ouse.Victim 2 began to exittheTub
                H ouse.Assheneated theexit,Igzabbed hezby theuppetatm
                and dtagged herinto aroom on the side oftheTub H ouse
                whereelectticalcirctzitbreakersarehoused (theftbreaket
                room').Iclosedthedoorandtutnedoffthelkhts.Ipushed
                heragainstacontrolpaneland pitm ed herdown with m y body.
                Iforcibly kissed her,unbuttoned hercoverallclothing,and
                kissed herbreastsagainstherwill.Iputm y handsinside her
                coverallsand touched hervaginalareaovetherunderwearwith
                m y hand againstherwill.

   ECF No.59,at5-6.Clehm chimed thatdtuingtheluneassault,shefearedforherlifeand
   wasonly able to leavewhen shetold Linkousthatcowozkersw erewaiting forhet.

         Linkouspled /.
                      1111 to cHm inalchatgesofsexualassaultand batteryofClehm and

   otherfemalecoworkersinUnitedStatesv.JoshuaLinkous.CaseNo.7:15-cr-00016.Linkous
   wassubsequently sentenced on O ctober13,2015,to 14 yearsincarceradon.In the afterm ath

   ofthese events,Clehm suffered fzom vatioushealth issues,including m igtaines,inability to

   focus,debilitadng headaches,depzession,anxiety,and panic attacks.Clehm began seeking

   m edicaltreatm entforherstressatwork and on Augtzst,5,2014,reported to herpHm ary

   caredoctorthatshehad been sexuaiy assaulted.ECF N o.154-26.Clehm latetbegan

   seeking psychiatzic counseling from alicensed clirlicalsocialw orker,aswellasfrom BAE'S

   Em ployeeA ssistanceProgram .Clehm condnued to sttugglewith fear,inttazsivethoughts,

   and diffculty sleeping.O n M arch 28,2016,shewentouton shoztterm disabilityleave with

   BAE'Sapptoval.ECF N o.154-139ECF N o.154-2,at388,400.Shesubsequently broughta




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   civilacéon againstLinkousin connecdon with the conductforw hich Linkousw asconvicted

   ctiminally.PtlrsuanttoRule17$)and(c)oftheFederalRulesofCivilProcedure,thecout't
   appointed Thom asE.Strelka,Esq.to serve asguardian ad litem fozLinkousin the civil

   acdon.O n August,23,2018,following aoneday ttiallim ited to dam ageson Count11

   againstdefendantLinkous,thejuryretutnedaverdictin favorofClehm,awardingher
   $500,000in compensatorydamagesand $250,000in punitivedamages.A totalofeight
   witnessesappeared on behalfofClehm ,inclufling fam ily,friends,form et co-workers,D t.

   RussellW .M elton ftom theCarilion Clinic,and Bettylones,aW omen'sResourceCenter
   counselotwhowozked wit.
                         h Clehm following theM ayandJune2014 assaults.
          Linkoushasmovedforthecourtto setasidethejudgmententeredonAugust,27,
   2918,and assertsavariety ofgroundsostensibly suppordng lnism otionsforanew trialand

   forrelieffzom judgment.He& stclnimsthattheamountawardedtotheplaindffwas
   ffgrosslyexcessive.p,
                       'ECF No.225,at1.Heattributesthisexcessivejudgmentto,among
   otherthings,the court'sdenying hisO ctobet16,2018,m oéon to condnue,ECF N o.198,

   wllich heclaim sptevented him fzom ffproperlyassistlingl'?in hisdefenseatttialffeven* t.
                                                                                          1,1
   the assistanceofm y guardian ad litem .''ECF N o.225,at2-3.Linkousalso m nintainsthatllis

   inability to have ffregularand frequent''com m unicadon with lzisguardian ad litem ,Thom as

   Strelka,Esq.,contributedto tlzepurportedlyexcessiveverdict.Jéaat2.Hefllt-rheraveêsthat

   hisinterestswereffoverlyprejudiced''bybeingreqllited topardcipateitathettialfrom a
   correcdonalfacility and thathewasdenied the Tfopportunityto reasonably prepare fortrial.''

   ECF N o.227,at1-2.The groundspresented in supportofb0t.h m oéonsateidendcal,

   indeed reproduced verbatim in each m oéon.The cout.talso notesthatm any ofthegtounds


                                                4

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   proffered in Linkous'spost-trialm odonspresently beforethecourtare the sam easthose

   rised in hispre-tzialm odon to condnue ftled on the eve oftdal,ECF N o.198,wlzich the

   courtdenied.The cotutwilladdresseach ofLinkous'clnim sin turn.

                                             II.

         Thegtantozdenialofam odon fozanew ttialisentrusted to and a m attezzesdngin

   thesounddiscreéon ofthedisttictcourt.W adsworthv.Clindon,846F.2d265,266 (4th Cit.
   1988)(ciéngOldDominionStevedorin Co .v.PolskieLinieOceaniczne,386F.2d193
   (4thCir.1967)).Themodonmaybegranted,Ttafterajtuytdal,fotanyteason fotwhicha
   new trialhasheretofore been granted in an acdon at1aw in fedetalcourt.''Fed.R.Civ.P.

   59(a)(1)(A).TheUnitedStatesCourtofAppealsfortheFolzrthCircuit'slistofacceptable
   groundsforwhich acourtmayexerciseitscliscredon tograntanew ttialincludes:<t(1)the
   verdictisagainsttheclearweightoftheevidence,or(2)isbaseduponeddencewhichis
   false,or(3)witlresultinamiscarriageofjuséce,eventhoughtheremaybesubstanéal
   evidencewllich wolzld preventthe direcdon ofaverdict.''A tlasFood S s.and Servs. Inc.v.

   CmneNat.Vendors,Inc.,99F.3d 587,594 (4th Cir.1996)9Clinev.W al-Mat'tStores,Inc.,
   144F.3d294,301(4thCir.1998).ffT1lisdisctetionincludesoverturningverdictsfor
   excessivenessand ordering a new trialwithoutquav cadon orcondidoned on thevetdict

   winner'srefusaltoagreetoareducdon trernittiturl.''Gasperiniv.Ctr.forHllmanides,lnc.,
   518U.S.415,432-33(1996).Toreceiveanew ttial,theFourth Citcuitzequitesafindingthat
   thejuryverdictwasmadeexcessivebyffpassion andprejudicespringl
                                                               'ngfrom indukence,in
   thejuryroom ,in such feelings,gthatqmay notbecuredbyaremitdttm butonlyanew ttial.''
   Bennettv.Faitfax Cty.,Va.,432F.Supp.2d 596,602 (E.D.Va.2006)(cidngFordMotor


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   Co.v.Mahone,205F.2d267,273(4thCit.1953)).Inothezwords,absentevidenceof
   passionorptejudicebythejuty anexcessiveverdictaloneisinsufûcienttograntanew ttial.
   SeeFordM ototCo.v.M ahone,205F.2d267,273(4thCit.1953)(ûndingthatanexcessive
   verdictcoupledwithevidencethatoneofthejurozsattemptedtosendamessagetothe
   plaintiffscounselw hile the tt'iZ wasin pzogzess,w hich wasdesigned to aid %im in his

   conductofthecase,required anew ttiall;Alltedv.M aerskLine,Ltd.,826F.supp.965
   (1993),970(E.D.Va.1993),rev'dp-qother ounds,35F.3d139(4thCir.1994)solding
   thatalthough thejuryawaêd of$1,000,000.00wasexcessive,thecotzrtcotlldnotorderanew
   trialbecausethçzewasnoevidencethatthevezdictwastheresultofpassionorpzejudice);
   GreatCoastalEx ress Inc.v.lnt'
                                lBhd.ofTeam sters Chauffeurs W arehousem en and

   He1ersofAm.,511F.2d839,846(4thCit.1975)(cidngUrlitedConstt.W ozkersv.Haisli
   Bakin Co.;223F.2d 872 (4th Cit.1955),fortheproposidon thatan excessiveverdictbased
   on animproperjuryinstrucdonategroundsforanew trial).Inreviewingamodonfotanew
   trial,the colzrtm ustweigh theevidenceand considerthe credibility ofthewitnessesto

   detemnninewhetherthe verdictwasagainsttheclearweightofthe evidence orwasbased

   upon evidencethatwasfalse.Ifnussman v.Ma land,272F.3d625,647 (4th Cir.2001).
          W hetegranéng anew ttialwotzld beim properbecause thereisno evidence of

   ttpassionorprejudice''bythejuty,acourtmaynonethelessreqllitearemidturifit
   concludesthatavezdictisexcessive.Bennettv.Faitfax Ctp,Va.,432 F.Supp.2d 596,599-

   600 (E.D.Va.2006).Underthepracéceofremitdtur,ffthettialcourtordersanew tdal
   urllesstheplainéffacceptsareducéon in an excessivejuryaward.''Clinev.W al-Mm Stores,
   lnc.,144F.3d294,305(4th Cir.1998).ThecourtwillftrstaddressLinkous'cbim of

                                                6
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   excessivenessasto the compensatov and punidve dam agesawardsand determ ine the

   propriety ofgrandng aremitdturunderVirginia law .The cout.twillthen assesswhether,

   desjiteitsfindingsvis-à-visexcessivenessandremitdturunderVirginialam itshould
   neverthelesssetasidethejudgmentsandgrantanew ttialpursuanttoRule59oftheFederal
   RulesofCivilProcedtue.Linkous'averm entsthatare notditectly related to theissue of

   excessiveness,namelythathewasffoverlyprejudiced''bybeingreqllitedtopnecipatefrom
   acorrecéonalfacilityand hism oregeneralized clnim thathewasffderzed the opporturlity to

   reasonably prepate forttial''willbe addressed in the cotut'sanalysisofLinkous'alternadve

   modonforrelieffrom judgmentundetRule60.
                                                   A.

         ThegravamenofLinkous'modons,bot.hforanew tdalandrelieffrom judgment,is
   theallegedexcessivenessofthejury'sdamagesawards.Thejuryreturned$500,000in
   compensatoryand $250,000in punidvedamages.Thecouttwilladdressthealleged
   excessivenessofthe com pensatoryand puniéve dam agesawardssepr ately,asdifferent

   standardsapply in assessing each award.W hete a m otion fotanew tdalisbased upon the

   allegedexcessivenessofthejuty'sdamagesawards,federalstandardsapplytofederalclnims,
   butstate1aw standatdsm ystbe applied to state1aw clnim s.G as eriniv.Centerfor

   Hlzmanities,Inc.,518U.S.415,426-31(1996)9Konkelv.BobEvansFnt-ms,Inc.,165F.3d
   275,280-81(4th Cir.1999);Brownin -FetrisIndus.ofVetmont lnc.v.Kelco Dis osal
   Inc.,492U.S.257,279-80 (1989)(refusingto craftafederalcommon-law standard of
   excessivenessbecauserfthesearem attezsofstate,and notfedetal,common 1aw'').Thus,
   whetherthejury'saward ofdamagesforthestatetortclnim ofassaultand batteryinthis

                                               7
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   m attetshould be tem itted orotherwise setaside asexcessiveisa m attetofVirgml
                                                                               ' 'alaw.

   Hu hstonv.New HomeMedia,552F.Supp.2d559,565(E.D.Va.2008)(citingStamathis
   v.Flyingl.,Inc.,389F.3d429,438(4f.
                                    hCir.2004)).
         UnderVirginialaw,

                gwjhenaverdictischallenged on thebasisofalleged
                excessiveness,a ttialcourtis'
                                            com pelled to setitaside<ifthe
                am ountawarded isso greatasto shock the conscience ofthe
                courtandtocreatetheimpressionthatthejuryhasbeen
                moévatedbypassion,corrupdon,orprejudice,orhas
                M sconceived orm isconsttnned thefactsorthelaw,orifthe
                award isso outofpropoO on to theinjtuiessuffered asto
                suggestthatitisnotthe productofafairand im pardal
                decision.'

   Shepatd v.CapitolFoundry ofVitginia,Inc.,et.a1.,262V a.715,718,554 S.E.2d 72,75

   (2001)(quotingEclmistonv.Ku senel,205Va.198,201,135S.E.2d777,780(1964)9
   Poulston v.Rock 251Va.254,256,467S.E.2d 479,481(1996))9seealso Srnithe v.Sinclair
   Ref.Co.,203Va.142,148,122S.E.2d872,877(1961)(explainingthatthejuryawardshould
   alsobesetasideifthejurymisconceivedtheseriousnessoftheplnintiff'sitjlltiesl.Inmaking
   thisdeternainaéon,the courtm ustevaluate the evidence relevantto theissue ofdam ages,

   viewing such evidencein thelightm ostfavorableto theprevniling patty - here Clehm .

   She ard,262Va.at718,554S.E.2dat75(citingPoulstonv.Rock,251Va.254,261,467
   S.E.2d479,483(1996)).Ifthereisevidence,whenviewedinthelightmostfavorableto
   Clehm,to sustain thejury's$500,000compensatoly damagesaward,then remitringor
   otherwiseseténgasidetheawardiserror.1d.(cie gEdmiston,205Va.at202-03,135
   S.E.2d at780).
                                             B.




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         The Suptem e CouttofVitginiahasheld thatphysicalhmtm and pecuniary lossesare

   notrequited in orderto sustain asubstandalcom pensatory dam ageaward and that

   Tfevidence ofsozrow,m entalangaish,and solace''arealonesufficient.H u hston v.N ew

   HomeMeclia,552F.Supp.2d 559,567 (E.D.Va.2008)(cidng She ard,262 Va.at723,554
   S.E.2dat77);Sn derv.Fatherl,158Va.335,351,163S.E.358,364(1932)9Williams
   PrinéngCo.v.Saunders,113Va.156,180,73S.E.472,478 (1912).W hilethecompensatory
   dam agesaw ard in thiscaseissubstanéalcom pared to otherstateand federalcasesitw olving

   sexualassaultand battery,the Suptem eCourtofVitgitlia specilk ally proscribescom pnting

   dam ageawardsasam eansofm easuring excessiveness.Allied Concrete Co.v.Lester,285

   Va.295,316,736S.E.2d699,710(2013)(holclingthattrialcourtimproperlybaseddecision
   to grantrernittituton im propercom patison ofaw ardsand failed to considerproperfactors

   in evidence orto provide anyw ay ofascertairzing whetherthereduced aw atd beatsa

   reasonablereladontodamagessufferedbytheplainéfililohnCrane,Inc.v.lones,274Va.
   581,594-95,650S.E.2d851,857-58(2007)(zefusingtoapplytheftaverageverdictrule''to
   ovetturn averdict,.
                     holding thatexcessivenessdeterm inadonsm ustbe based on the factsand

   circlzm stancesofeach case,and collecdng caseswhetetheSuptem e Cout'tofVitgmi
                                                                              'a

   declined to engagein acompatison ofverdictsin assessing excessiveness);Rosev.Jaques,
   268Va.137,159,597S.E.2d64,77(2004)(T'
                                       hethfnlstof...Mills'argumentisthatthe
   jtzry'sverdictisexcessivewhen comparedto otherèost-traumadcstressdisorderqcases,
   statewideandnadonally.However,...M '
                                      tllscitesno othercasewherethis(clotuthas
   sancéoned averdictcomparison analysisasthem easureofaverdict'sexcessiveness.);c.
                                                                                  i
   W eihuaH uan v.Rectot& VisitorsofUniv.ofVir 'nia,N o.3:11-CV -00050,2013 W L




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   865845,at*11(W.D.Va.Mar.7,2013)rTheFolzt'
                                           thCitcuithasclearlyinclicatedthatpast
   awatdsshouldseweasgaidelinesfotthetrialjudgetoconsiderwhendecidingwhetherto
   grantanew ttialrlisitert'
                           littitazr.''l;Hetzelv.C .ofPtinceWitliam,89F.3d169,172(4th Cit.
   1996)(insttucdngthedistrictcoutttoRcloselyexnminetheawardsgintwoothercasesj,
   which webelieveatecompazabletowhatwould bean appzopziateawazdin thiscase').
            Further,theSuprem e CourtofVirginia hasrepeatedly em phasized thattheam ount

   ofaverdictissquarelywithinthejuty'sdisctedon,thatitisinviolatewhenitisatzivedat
   upon com petentand properinstrucéons,and thatallreasonableinfetencesm ustbe dtaw n

   infavoroftheverdictrenderedwhenevaluadngtheappropdatenessoftheamountofajury
   verdict.Showkerv.Iiratzer,77 Va.Cit.389,389 (2009)(citingRichatdsonv.Btaxton-
   BaiLC ,257Va.61,510S.E.2d 732 (1999:.Virginia'qhighestcourthasalso emphasized that
   .- - -




   Kfgiqftheverdictmerelyappearstobelatgeandmorethanwhatthetzialjudgewouldhave
   awardedhadhebeenamemberofjury,itshouldnotbedisturbed,becausetodo sowould
   beto<dowhathemaynotlegallydo,thatis,subsdttztelaisjudgmentforthatofthejtlry.'''
   Smithe ,203 Va.at146,122 S.E.2d at875.In sum ,the law ofVitginia establishesa

   formidablepresumpdonagainstrenlittingozotherwisedisturbingjuryvetdictson
   excessivenessgzounds.SeeAllied Concrete Co.v.Lester,285 Va.295,317,736 S.E.2d 699,

   711(2013)(M cclanahan,J.,dissenting)rfW ith thisgcjourt'sevezevolvinglimitadonsupon
   thepowerand dutyofttialjudgestoorderremittitur,fotallpracticalputposestlaelastnailin
   thecof:n ofrernitéturhasbeen clriven ....??).
            Hete,Linkousasseztsthatthe$500,000in compensatorydam agesawarded to the
   Clehm isffgrossly excessive.''Thereisno quesdon thatthe award issubstandaland atthe



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   outerreachesofareasonablejuryverdict.Nonetheless,givenallthefactsandtheseverityof
   Clehm'sallegedinjuries,aswellasthesuigenerisnatureofinjlltiesinvolvingsexualassault
   and battery,itcannotbe said thatthe award isso excessive asto w arrantintervendon by the

   court.Indeed,with theexcepdon ofllisown conclusory statem entsallegm
                                                                      ' g excessiveness,

   Linkous,revealingly,hasfailedtopointtoanyspecifcevidenceshowipgthatthejuryaward
   wastheresultofffpassion,corrupdon,orprejudice.''lNordoesLinkousaver,forexample,
   thatthe$500,000 awardisagainsttheweightoftheevidence,disproportionateto theinjlzries
   suffered,or theresultofamisconsttnpalofthe factsorthelaw.Instead,Linkousattdbutes

   theallegedlyexcessivejudgmenttothecourt'srefusaltograntlnismoéontocondnue,ECF
   N o.198,hisinability to havetegulatand frequentcontactwith hisguatclian ad litem ,and

   otherissueslargelytangentialinadjudicadngexcessiveness.
           To theextentLinkouswasdissadsûed with the levelofcom m unicadon with Strelka,

   he should haveraised thisissue atttial.H eclid not.Indeed,when asked explicitly bythe

   cout'tw hetherhewasfully sadshed with thework ofhisguazclian ad litem ,Linkous

   answered affi= atively.W ith respectto them otion to condnue,and therelated clnim thathe

   wasffderlied theoppormnitytoreasonablypreparefortrialc Linkousmoved to condnuethe

   tsialfourmonthsafterhewasflrstnodfiedofthetrialdateandjustoneweekbeforethetrial
   wasdue to com m ence.N otonly wastlziseleventh-hotu m odon to conénue ftled

   unreasonably late,butLinkousalso provided no explanadon forw hathe intended to do wit.h


   1T.
     inlrousdoesclnim thatappeazingbyvideoconferencefrom pzisonwasprejudicial.However,therecorddoesnot
   permittheinference,nordoesFlnlroussupplyanyfactualbasisforconclurling,thatthewayinwhichTlnkousappeared
   wassoprejudicialastojusdfyanew ttial.Indeed,totheextentLinlrouscloimsthatappearingfrom prisonisintolerably
   prejudicial,heiseffecdvelyarguingthatciviltzialscannotproceedtlnlesstlzecourtisabletoproctuethephysical
   presenceofl carcerated defendants.Thisisneitherreasonablenorthelaw .SeeUnited Statesv.Baker,45F.3d837,843-
   44(4thCiz.1995);Muhammadv.Warden.BaltimoreCitylail,849F.2d107,111-12(4thCir.1988)Soldingthata
   plnindffinmateinasecdon1983acdonhadnoabsolutezighttobepresentathisjurytHall.


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   any addidonaltim e to prepare fortrial.In any event,theseatgum entsatebesidethepointin

   assessing excessiveness,asthey do notprovideany basisfotthe colzttfincling thatthe

   judgmentwaserroneousorfatallyinfectedbypassion,corrupdon,orprejuclice.
         Linkousalso doesnotallege thatthe cout'twasin etrorasto theadm ission ofany of

   theevidence,jutyinstnlcdons,orothezzelevantpzoceeclingsdlztingthetrial.Inozderto
   dete= ineifthe$500,000verdictisonethatisexcessiveenough to shock theconscience,it

   isnecessarytolookatthefactorsthatwouldhaveinfluencedthejurytoawardtheamountit
   did.Therecordreflectstharthecouttinsttuctedthejuryasfollowstegatdingcompensatory
   dam ages'
           .

                lnstruction N o.20

                Thepum ose ofcom pensatory dam agesisto m ake theplaitntiff
                whole.:--thatis,to reasonably com pensate the plaindffforthe
                dam agesshe hassuffered.

                Youmayawardcompensatorydamagesonlyforitjudesthat
                theplaindffproveswereproxim ately caused by thedefendant's
                conduct.The dam agesthatyou awatd m ustbe fait
                compensadon fozalloftheplaindfpsdam ages,no m ore and no
                less.You should notaw ard com pensatory dam ages fot
                speculaéveinjuties,butonlyforthoseinjutieswhichthe
                plaindffhasactazally suffered otthattheplaindffisreasonably
                likely to sufferin the futare.

                Youraward should beguided by dispassionate com m on sense.
                Compudng dam agesm ay be difhcult,butyou m ustnot1etthat
                clifûcultylead you to engagein arbitraryguesswork.On tlae
                otherhand,the law doesnotrequirethatthe plaindffprove tlae
                am ountofherlossesw'itlzm athem adcalprecision,butonlywit.h
                asmuch de6nitenessand accuracy asthecircum stancespe- it.

                Theburden ison theplaindffto proveby thegreaterweightof
                the evidenceeach item ofdam age she clnim sand to provethat
                each itèm wascaused by thedefendant.Sheisnotzequired to
                Prove theexactam ountofherdam ages,butshe m ustshow

                                              12

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                 suf:cientfactsand circum stancesto perm ityou to m ake a
                 reasonable estim ateofeach item .Iftheplaintifffailsto do so,
                 then she cannotzecoverforthatitem ...

                 In dete= ining the com pensatory dam agesto which theplaindff
                 isenétled,you shallconsiderany ofthe following wllich you
                 believe by thegteaterweightoftheevidence:

                        Al1financiallosswhichisaresultoftheinjurytothe
                        plqintiffcaused by thedefendant;
                   (2) AIIphysicalinjuly theplaindffsuffered;
                   (3) A1lemoéonalinjudesplaindffsuffered,includingshame,
                        hllm iliadon,em barrassm ent,orindignity to herfeelings
                        thatshe suffezed.

                 You m ay also considetin awarding com pensatorydnm agesthe
                 insuléngcharacteroftheinjuties,thedefendant'sreason for
                 injuringthepbindff,and anyotheêcircllmstanceswlaich makes
                 theitjuriesmoresedous,ifanyofthesethingsareshown bythe
                 evidence.

                 Yourverdictshallbeforsuch sllm aswillfully and fairly
                 com pensate theplaindffforthe dam agessustained asaresultof
                 theassaultand batterp

                 Instruction N o.21

                 Ifyou find thattheplaindffhad a condidon before the accident
                 thatwasa% ravated asa resultoftheincidentorthatthepre-
                 exisdngcondidonmadetheinjuryshezeceivedmoresevereor
                 m orediffkultto treat,then in yourverdictfortheplnindff,she
                 m ayrecover forthe aggravadon and fortheincreased severit)r
                 ordifhculty oftreau ent,butsheisnotenétled to recoverfor
                 thepre-exisdng condidon.

   ECF N o.21,at21-23.In accordancewit.h Virginia1aw and wit.h theagteem entofthe

   pnrries,thejuryinstructionsexpresslypermittedthejurytoconsiderffallemodonalinjudes
   plaindffsuffered,including sham e,hlxm iliadon,em barrassm ent,orindignity to her feelings,''

   aswellastheffinstzldngchazactezoftheinjlxries.''ECF No.216,at23.Strelkadidnotobject
   to Cleém'srequesttoadd theTfemodonalitjuties''languagein lnstrucdonNumber20,and
                                                13
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   infactconcededthatemoéonalinjutiesaretypicallyconsideredinanoveralldamages
   analysis.M oteovet,sim ilatins% céonshavebeen cited approvingly by theSuprem e Court

   ofVirgirlia.See e..,Baldwin,273V a.at657-58,643 S.E.2d at705-706.

          Withtespecttotheallegedinjuries,Clehm didnotptesentanyevidenceofspecial
   dam ages,such asm edicalbills,lostearnings,etc.H owevet,shetesdfied in graphic detail

   aboutemotionalsuffering thatresulted from theMayandlune2014 assaults,andpresented
   evidencethatshe soughtpsychiatric cate and extensive counseling thereafter.The courtwill

   notrecapitulatethe entirety ofClehm 'stestim ony regarding Linkous'conduct,butsufhce it

   to say thatthere wassufhcientevidence,viewed in the lightm ostfavotable to Clehm ,to

   supportthejury'sfinclingbyaffpreponderanceoftheevidence''thatshesuffered
   considerableem odonalhztm and long-lasdng tra'lm a thatwasproxim ately caused by the

   assaults.ECF No.216,at17,19,20.With respecttotheJune2014incidentin patdculat,
   Clehm w ascoming offa l6-hourshiftafterbeing ffdtafted''to work adoubleslliftwhen her

   em ployerwasunable to find anyone else to w ork thatday.W hen herslziftended,atwllich

   pointshewasunderstandably ffexhaustedy''she retutned to herlockerto puthersupplies

   away.Clehm tesdfied thatshe saw Linkousin thehallway and tded to avoid him by walking

   away.H owever,shortly afterexidng thelockerroom ,Linkousgrabbed Clehm ,dragged her

   into a Kflittle dark controlroom ,''closed the doorbehind them ,turned offthelights,and

   locked the door.H e then fondled herbreasts,started ldssing herneck,zeached fotand

   statted touching hervaginalarea,and stated thathewanted to have sexwith her.Clehm

   tried to resist,begged Linkousto stop,and wasextrem ely featfulgiven Linkous'ssizeand

   thefactthatnobodyelsewasaround.Linkouspressed Clehm ffzeally tkhtglyl''againstthe

                                               14
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   wall.Clehm tesdûedthatevenifshehadnotjustworkeda16-hoursbift,shewouldnot
   have had enough sttength to push Linkousoffofher.2

           Clehm described herlife afterthe attacksasffplzrehell,''and stated thatsheisalways

   scared,constantlylooking overhershoulder,and afraid ofthe datk.Clehm tesdfed that

   following theassaults,shecannotsleep in herbedroom with herpartnezbecausetheroom

   rem indshetofthe sm allzoom into which Linkousdragged her.Instead,she sleepson the

   couch in herliving room .Clehm furthertestihed to seeing m tzléple doctorsand counselors

   in theaftermath oftheassaults,includingDr.RussellMelton and counselorBettylones,
   m any ofw hom wanted to prescribehetvarioussleep-related m edicadons.Clehm also

   tesdfied thatshewasunem ployed fozasignifkantperiod oftim e aftettheassaults,that

   Linkous'acdonscaused herrelationship with herpattnerto fail,thatshesoughta tem porary

   restraining orderagainstLinkous,and thatshepurchased aflrent'm fotprotecdon.

           Therewasalso detailed tesHm ony from Clehm 'sfam ily,friends,and fot-m er

   cowotkersregardingheremoéonalitjuties,protractedanxiety,andthedetedoradonofher
   physical.and m entalhealth in the afterm ath oftheassaults.Thistestim ony included,am ong

   othezthings,specificdescripdonsofClehm barricacling doorsto pteventintrusionsand her

   m arked withdrawalftom norm allife.A form er secutityguard attheArsenaltesdfh d that
                                                                                      .




   Clehm approached him and,visiblyscared and upset,told him tlmtLinkouswashaêassitlg

   herand thatshewasscared to go to work.Tam my M ullins,theplnintiff'ssister,described

   Clehm asunrecognizable shortly afterthe assaults,stating,fTIdidn'tknow who thisperson

   2Inanexhibitenteredintoevidence,Clehm statedthatdllringtheJlme2014assault,shewasrjustsoterzised...hewas
   going to rape m e,killm e.H ell,Ididn'tknow whathewasgoing to do in thatdam n room .''ECF N o.217-4,at4.  W hen
   she m anaged to escape fzom the room in which l',
                                                   inkousdragged her,she stated that<T1wanted to die,Ihaveneverfelt
   likeapieceof1ow lifecrap.'''Fhecourtinsttuctedthejtzrythatitmayconsiderthesestatementssolelyforthepm-poseof
   showing thatClehm reached outin wziting to othersabouttheseepisodes.



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   was.''M ullinsindicated thatwhen she asked Clehm why she had pushed chairsand tablesup

   againstthedootto hetapartm ent,Clehm told hetthatshew assexually assal ted atwozk.

   M llllinsflltthertestz ed thatClehm often looked nervousand appeated to have Tfaged'?and

   lostalotofweightsincetheassaults.Clehm'smother,CynthiaJenson,tesdfied that
   followingtheassaults,hezdaughtezwasconstantlyfeazful,jumpy,hyper-vigilant,and
   increasingly andsocial.Jenson indicated thatClehm willnottatn herback topeopleand sits
   wit.h hetback to thewallso shecan seewho isconaing.PattyD ennis,who isfriendswith

   Clehm ,teséfied thatwhen Clehm Snally told heraboutwhathappened,Clehm appeared

   ffscared to death.''D ennisalso noted thatClehm wasscared to go outin public,losta1otof

   weightaoften appered unkempt,andbecameaNecluse.';Jason Blankensllip,Clehm's
   partner,testifed thatClehm cannoteatozsleep,isconstantly scared and willnotgo

   anywhete by herself.ln addiéon to thesewitnesses,Dr.RussellW .M elton teséfied aboutlnis

   diagnosisofClehm withpost-traumaécstressdisotder.Finally,Bettylones,acounselorat
   the W om en'sResource Centerin Radford,testxed aboutherexperience counseEng Clehm .

   ln shott,the record indicatesthatClehm soughtm edicaltreatm entfollowing the assaults,

   and exhibited physicalm anifestaéonsofsttess,inclucling lossofsleep,m atked w eightloss,

   naigraines,and nightm ares.Clehm testified thatshe also expezienced suicidalideations,

   significantreladonship difficto es,and prolonged unem ploym enttelated to debilitadng

   tlashbacksoftheassaultsand persistentfear offurthersexualhatassm entin thew orkplace.

   Theassaultsalso appeated to exacerbate Clehm 'spre-exisdng m entalhealth ptoblem sand

   w ere a frequentthem e in m any ofhersubsequentcounseling sessions,which condnued for

   yearsaftertheassaults.Thejtu-ywasexpresslyinsttuctedthatrecoverywaspe= ittedforany


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   aggravation ofpre-existing condidons,butnotforthe pre-exisdng condidon itself.ECF N o.

   216,at24.

         Thereliabilityand credibility ofClehm 'stestim ony and thatofhercorroboradng

   witnessesclid notgo unchallenged.Strelka thoroughly cross-exae ned Clehm and hez

   witnessesasto whether som e,ifnotall,ofthealleged depression,anxiety,and em otional

   distressattdbuted to Linkous'conductpredated theassaults.Tlliscross-exam inaéon

   revealed,interaâa,thatClehm hadbeen(1)prescribedanddeptessantstotteat(ftearful
   depression and anxiets''aswellasrnigtaines,beginningin 2007,(2)thatherplannetfrom
   January2014,severalmonthsbeforetheeventsofMay andJune2014,indicated thatshe
   feltshewasfflivinginrrliserys''and(3)thatherzelationshiptroublespredatedtheassaults.
   Strelka furtlnerquesdoned Clehm asto thedelay be> een theassaultsand herreporéng them

   to m anagem ent,aswellasprobed thewitnesses'potendalbiases,given thei.
                                                                        rfriendshipsand

   familialreladonsllipswith Clehm.M oreover,thecourtexptesslyinsttnncted thatffgoqur
   system oflaw doesnotpet-mitjurorstobegovernedbysympathy,prejudice,orpublic
   opinion.7'ECF No.216,at1.Thejutywasfurtherinstructedthatthepardes,thepublic,and
   thecouztexpected them to fçcarefully and im pardally considetallthe evidencecase,follow

   thelaw asstatedbythecourt,andreachajustverdictregardlessoftheconsequences.''In
   sum,thejurywas(1)fullyapprised ofthestrengthsandweaknessesin Clehm'scasefor
   damages,(2)properlyinstructedattheconclusion ofthettial,and (3)endtledto detetmine
   theweighttobegiven properlyadmitted evidence.Itwaswithin thejury'sprovinceto
   acceptorrejectthevariouswitnesses'testimonyasto thealleged effectsofLinkous'conduct



                                              17

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   on Clelnm 'sphysicaland m entalhealth,and they apparently were convinced by testim ony

   thatshewaspzofoundly affected by the assaults.

         Thecourtfindsthattheissueswerefullyandfairlytded,andthatthejurycould
   teasonablyarriveattheawatdinthiscaseabsentpassion,cottupdon,otptejudice(ofwlaich
   thereisnoevidence),andwithanaccurateunderstanflingoftheissuesoffactandthelaw
   beforeit.Thejuryhadtheopportaznitytohea.
                                          tallofthetestimonyandassessthecredibility
   ofClehm and herrespecdvewitnesses.Itcannotbe said thatgiven the cum ulative evidence

   ofemodonalharm adduced atttialthat$500,000isoutofpropordon to Clehm'semotional

   injuties,orotherwiseindicadveofunfairnessormisconcepéon.W hileamuch smalleraward
   Fould also havebeen reasonable,withoutaddidonalevidenceshowing thatthe challenged

   dam agesaward wastheproductofsom e sortofprosczibed influence oz otlaeê

   misapptehension ofthecasebythejury,thecourtcannotsimplygtantanew ttialorrennit
   theverdictbecauseitism ozethan the courtwould have awarded.See Condo.Servs.-lnc.v.

   FirstOwners'A ss'n ofFortySix Hundred Condo.,lnc.,281 Va.561,580,709 S.E.2d 163,

   174(2011)(f<Thetrialcourtmustaccordthejuryverdicttheu% ostdeference.');Bennettv.
   FairfaxCty.,Va.,432F.Supp.2d596,600(E.D.Va.2006)rf'I'hejuryvetclictmuststandfgilf
   thereisevidenceonwlaich areasonablejurycouldzetuzn avezdictin favozofthe
   nonmovingparty.''');Stebbinsv.Clark,5Fed.Appx.196,202(4thCir.2001)(holclingthat
   courtsffmusttreatajury'sverdictwithgreatdeferenceand respect''and Tfmustnotsetaside
   averdictaseitherinadequate orexcessivem erely because the disttictcourtwould have acted

   differentlyifithadbeen thettieroffactorbecausethejuty could havecometoadifferent
   conclusion thatthetrialjudgefeelswasmoreteasonable').In slxm,thecolxl'tfmdsthatthe


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   compensatorydamageawardassessedbythejuryaglinstLinkousisnotexcessiveunder
   Vizginia1aw given thecitctpm stancesand evidence presented in thiscase,and thereforedoes

   nOtw arrantan intrusion by the court.

          Insofarasquandfyingorplacingavalueonemotbnalinjudesisfraughtwith
   clifûculty,itisin these typesofcasesthatthe estim adon ofdam agesispattofthe essence of

   thejuly'sfuncdon.SeeHomesle v.FreihtlinerCo .,61F.App'x105,117(4thCir.2003)
   (TAvedefertoajuty'sawardofdamagesfotintangibleharms,suchasemodonaldistress,
   becausethehnt'm issubjecdveandevaluadngitdependsconsiderablyonthedemeanorof
   thewitnesses.>);Foxv.Gen.MotorsCo .,247F.3d169,179-80(4thCir.2001)(upholding
   $200,000compensatorydamagesawardin hosdlewotk environm entcbim whereplaindff
   testified thathe suffered anxiety,seveze depression,and worsening ofhisalteady fragile

   workingcondidon);seealsoBoglev.Mccllzre,332F.3d1347,1359(11+ Cir.2003)rf'1*he
   standrd ofreview forawardsofcom pensatorydam agesforintangible,em odonalhnt.m is

   deferendalto thefactfinderbecausetheharm issubjectiveand evaluadngitdepends
   considerablyon thedemeanorofthewitnesses.?).Irrespecdveofwhetherthecouttitself
   wotzldhaveawarded suchalargeverdicthaditbeenamemberofthejury,giventhe
   testim onyastothespeciûcnatureoftheallegedemodonalsuffering,the$500,000 award
   doesnotshock the conscienceofthe cout'tforexcessivenessand thereforeisneither

   excessive nor w arrantsrem itdtuzunder Virginia law .See Baldw in v.M cc onnell,273 V a.650,

   659,643S.E.2d703,707 (2007)(findingthetdalcourtto haveabused itsdisctedon by
   gzantingrerrtitdtazrand that$240,000in compensatoryand $100,000inputlidvedamageswas

   notunreasonableoroutofpropoMon fotfrshame,hllmiliation,embatrassmentor1r1(11g1,11t/7


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   where apattywasknocked down duting an altercadon with a co-w ozketand tepozted, inter

   alia,anTfinsulttohisdignitfl;seealsoM etsv.Cent.Fla.lhvestments lnc.,592F.3d1201,
   1213 (11+ Cir.2010)(upholdinga$610,469.84judgmentforemoéonalhnt'm whereplainéff
   endured hum iliaéon and wasdrained ofherdesiteto go to work asatesultofunwanted

   sexualtouchingsin thew orkplace from aboss fftaking advantage ofhisem ployeeoveran

   extendedtimeftnme').In sum ,and aspteviously stated,thecouttdiscetnsno teasonto
   subsdtuteitsjudgmentforthatofthejuryastotheamountofdamagesnecessaryto
   compensateClehm'semoéonalinjllries.3
                                                           B.

           Linkousalso assertsthatthepuniéve dnm agesawatd levied againsthim isexcessive.

   fçln reviewing an awazd ofpunitive dam ages,therole ofthe distzictcoul'tisto determ ine

   whethetthejurfsverdictiswithintheconfinessetbystatelaw ....''Brownin -Ferris
   Industtiesv.KelcoDis osal,492U.S.257,278(1989).ff'l'hepurposeofcompensatory
   damagesistomaketheinjuredpbinéffwholeforlossesactazallysuffeted,whereaspunidve
   dam agesserveto fpunish thedefendantfotm aliciousconductorto display to othersan

   exam ple ofthe consequencesthey m ay expectifthey engagein sim ilatconduct.'''1W 1: v.

   M cMillan,594F.3d301,314(4thCir.2010)(cidngF.B.C.Stores,Inc.v.Duncan,214Va.
   246,198S.E.2d 595,599(1973)).Inalawsuitwhere,ashere,statelaw providesthebasisof

   3Following aseparatecriminalresdtt
                                    zdon hearing,thecourtotderedT,
                                                                 inkousto pay $38,
                                                                                 315.32in resdttzdon toClehm.
   Am.J.,CaseNo.7:15CR000016,ECFNo.88.Title18U.S.C.j3664(2000),wllichgovernsresdmdonorders,requires
   the courtto ffozderresdttzdon to each victim in the 11111am otmtofeach victim 'slossesasdetermined by the courtand
   withoutconsidezadonoftheeconomiccircnmstancesofthedefendant''j3664(l)(1)(A);UnitedStatesv.Dawkins,202
   F.3d711,715-716(4thCir.2000).Thestatm econtainsalimitedoffsetprovision,reqlliringreducdonoftheresdtution
   amotm tto take into accotmtany am ountlaterrecovered ascompensatory damagesforthe sam elossby the vicfim itzany
   federalorstatecivilproceeding.j3664()(2).IfT,
                                               inlrousisendtledtoanoffsetincri
                                                                             minalresdtt
                                                                                       zdonptusuanttoj
   3664(2(2),suchareducdonisonlyappropdateuponamodonforcreditandafterpaymentsofthecompensatozy
   judgmenthav: ebegtm tobemadetoClehm.

                                                           20
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   decision,theTfptoprietyofan aw atd ofpunidvedam agesforthe conductin quesuon, and

   thefactozsthejutymayconsiderin dete= iningtheitamount,arequesdonsofstatelaw.''
   Btownin -Ferris,492U.S.at278-79.lnVirgr
                                         ' 'a,Tfgtlhegeneraltnlleisthatthereisno flxed
   standard for them easureofexem plary orpunidvedam agesand theam ountofthe award is

   latgelyamatterwithinthediscreéonofthe'jury.''Baldwin,273Va.at659,643S.E.2dat707
   (citingW ottiev.Boze 198Va.533,95S.E.2d 192,201 (1956))Phili Mortis Inc.v.
   Emetson,235Va.380,368S.E.2d268,287(1988)).
         fThesocietaland legalradonalefortheimposidon ofpunidve gdam ages)is
   punishm entofan outrageousact.''H enderson v.Hulin ,N o.4:16-CV-166,2017W L

   4209761, at*5(
          ,     E.D.Va.Sept.20,2017)(citingSimbeck Inc.v.Dodd-siskW hitlockCo            .,
   257Va.53,58 (Va.1999)).Thus,theffbroad rtzlegovetningtheawatd ofpunidvedamagesis
   thatsuch dam agesm ay berecovered onlyw hen thereism isconductor actualm alice,or such

   recldessnessornegligence asto evince aconsciousdisregard oftherightsofanother.''Id.

   Judicialreview oftheamountofpunidvedamagesunderVitgt
                                                      'm'a1aw teqlxites:T<(1)
   cotfsideration ofreasonablenessbetween the dam agessustained and the nm ountofthe

   award,(2)themeasurementofpunishmentrequired,(3)whethertheawardwillamounttoa
   doublerecovery,(4)theproportionalitybetween thecompensatoryandpllniévedamages,
   and (5)theabilityofthedefendantto pay.''Baldwin,273Va.at659,643 S.E.2d at707
   (ciéngPoulston,251Va.at263,467S.E.2d at484).Flxt'thet-more,aswith compensatory
   damages,<<ajury'sawardofdamagesmaynotbesetasidebyatzialcourt...unlessthe
   damagesareso excessive':asto ffcreatetheimpression thatthejuryhasbeeninfluencedby
   passion orptejudiceorhasitlsomewaymisconceived ormisunderstoodthefactsorthe

                                             21
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   law.''Downe:v.CSX Ttansp.,Inc.,256Va.590,507S.E.2d612,614(1998).VitginiaCode
   j8.01-38.1,however,statesthatforanyacdonaccruingonorafterluly1,1988,ffgijnno
   eventshallthetotalnmountawarded fokpunitivedsmagesexceed $350,000.''Va.CodeAnn.

   j8.01-38.1 (1991).
         W ithzespecttopunidvedamages,thecourtinsr ctedtlzejuryasfollows;
                Instruction N o.24

               Ifyou find thattheplaindffisenétled to be com pensated for
               herdam ages,and ifyou Fllrtherbelieveby thegreaterweightof
               the evidence thatthedefendantacted with acttzalm alice tow atd
               theplaindfforacted undercircum stancesam oundng to awiIIS'    LI
               and wanton disregard oftheplaindff'srights,then you m ay also
               aw ard punidvedam agesto the plainéffto punish the defendant
               forhisactionsand to serve asan exam ple to detet him and
               othersfrom actingin a sim ilarway.

                ''A cm alm alice''isa sinisterorcorruptm oéve such ashatted,
               petsonalspite,illwill,oradesitetoitjutetheplaindff.
                Instruction N o.25

               Any award ofpuniévedam agesyou m ay choose to im pose
               should takeinto accountthe reprehensibility oftheconduct,the
               hnt'm caused,thedefendant'sawarenessofthe conduct's
               wrongfulness,the duraéon ofthe conduct,and any
               concealm ent.Thus,any penalty im posed should beata
               relaéonsllip to the nature and extentofthe conductand the
               harm caused,inclufling thecom pensatory dam agesaward.

               A ny penaltyim posed should takeinto accountasanlidgadng
               factorany otherpenalty thatm ay have been im posed orwhich
               m aybe im posed forthe conductinvolved,inclucling any
               cHm inalpenalty atising outofthe sam e conduct.

               Theam 6untofany penalty m ay focuson depriving the
               defendantofproikdderived from theim properconductand on
               awarding the coststo the plainéffofprosecudng the cl/im .




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                A ddidonally,any penaltym ustbe lim ited to punishm entand
                thusm aynoteffecteconom ic banknlptcy.To thisend,the
                ability ofthe defendantto pay any punidveaward entered
                should be consideted.

                Ifyou award purlidve dam ages,you m uststate sepatately in
                yourverdictthe am ountyou allow ascom pensatorydam ages
                and the am ountyou allow aspunidve dam ages.

                Finally,letmebecleat.Ihavejustgivenyouinstrucdonson
                puniéve dam ages.You should notinferfrom theseinsttucdons
                thatIhaveanyview asto whetherpunidvedam agesshould be
                awarded in thiscase orw hatam ountofpunidve dam ages
                should be awarded.Thatisforyou to decide.

   ThejtzryawardedClehm $250,000inpuro vedamages.NotonlydidLinkousconcedethat
   heacted witllacm alm alicein llisanswet,ECF N o.23,at1,butthete wasoverwhelm ing

   evidencepresented ofactualm aliceand willfuland wanton behavioron thepattofLinkous.

   In addidon to those factsadnlitted in Linkous'guilty plea,Clelnm tesdfied itlherown wotds

   thatduzingthelune2014 assault,Linkousgrabbed andpulledherinto afflittledark control
   toomy''locked thedoor,turned offthelights,and began Tflqissing gherqneck''ffcontinuedto
   go down towardsgheljbreastw''andTfhad hishandsitlgherjpocketto gherjvaginay''all
   againstherwill.Clehm furthertestihed thatshe wasffttying to push him off...buthehad

   Lherjagainstthewalland he'sreallybigandhad hisbodypressed up againstgher),reallyéght
   up agninstthewall.''Thereisno quesdon thatLinkous'acéonsweteouttageous,m alicious,

   ordonewith a ffsinisterorcorrupt''m odve.Indeed,theevidence suggeststhatLinkouswas

   atleastpardally m oHvated by a desireto getrevengeagainsthiswife.Clehm 'stestim ony

   dem onstratesthatshe suffered signifcantindignidesasaresultofLinkous'conductacausing

   hertofeelimmenseshame,humiliaéon,andfear.Thejurfspurlidvedamageawatd,though



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   large,isneitherasshocking asthe conductitseeksto deternorunteasonablein thewake of

   theinjtuiesthejuryfoundweresustained.
         W ith tespectto thepunisbm entrequired forLl kous'behaviorand considetaéon of

   thedetettenteffectupon otlaerswho m ay actin a sim ilatfaslzion,the cokutcannotsay that

   theawatdisexcessive.Thecomtins% ctedthejut'ythatRgalnyawrdofpmiévedamages
   you m ay choose to im pose should takeinto accountthereprehçnsibility ofthe conduct,the

   harm caused,the defendant'saw arenessofthe conduct'swrong6nlness,the duration ofthe

   conduct,and any concealm ent.''Linkous'conductevinced a conscious,egregious,and

   predatory disregazd foïClebm 'szightto be fzeefzom unwanted,abusive sexualcontactin

   theworkplace.Thejurywasfreetoconcludethataseverepunishmentwasappropliate
   underthe factsofthecase.

         Thejury'spunidvedamageawarddoesnotamounttoadoublerecoverybecausethe
   jurywasins% ctedto baseitsawatd ofcompensatorydamageson anydnmagesClehm
   actuallysuffered,includingTfgalllemoéonalinjuries...shame,hlnmiliadon,embarrassment,
   orindignityto herfeelingsthatshe suffered''and to award punidvedam agesonly ifit

   believed Linkousacted with actualm aliceorawiIISIIand w anton disregard ofClehm 's

   zights.In doing so,tlaecout'tunderscoted thatthe purpose ofapuniéve dnm agesaward isto

   PunishthedefendantforVsacdonsandtoserveasanexampletodeterhim andothers

   from acdngin asimilarway.In shott,thejurywasawateoftherequirementsforand
   purposeofawarclingpunidvedamages.Thecourtpzesumesthatthejuryfollowsthe
   instrucéonsofthecolzrtabsentevidencetotheconttary.Stamathisv.Flyingl,lnc.,389F.3d
   429,442 (4th Cir.2004)(cidngRichardson v.Marsh,481U.S.200,211(1987).Inlightofthe


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   pellucidly cleardelineadon ofthebasisforeach.aw ard in theinstrucéonsand the reasonable

   basissuppotdng each aw atd,the zecozd doesnotsuggestdoublerecoveryin thiscase.See

   Baldwitx 273V a.at659,643 S.E.2d at707.

         Futthetmote,the2:1tatiobetween tlaejuty's$500,000compensatotydamageawatd
   andthe$250,000punitivedamagesawardisnotTfllnteasonableorstdkinglyoutof

   propordon.''Id.(cidngPhilipMotrisUSA v.W illiams,549U.S.346(2007)(teaffit-ming
   Urlited StatesSuprem e Courtprecedentthat(fthelongstanding historicalpracticeofsetting

   puniévedam agesatt'wo,three,orfou.
                                    rHm esthe size ofcom pensatory dam ages...is

   Tfinstrucdve,''and thatfflslingle-digitmuldpliersaremotelikelytocomportwith due
   process.'l).Here,theputadvedamagesawardishalfthecompensatorydamagesaward and
   thezefore fallswellwithin therange the United StatesSuprem e Courthasheld islikely to

   com portwith due process.Thus,because the 2:1 radon fallswithin the constitudonally

   acceptablezange,andbelow Virginia'sstatutorycapof$350,000,remittitatisnotjustzedon
   thebasisofproportbnality.SeeBMW ofN.Am.v.Gore,517U.S.559,573(1996).Lastly,
   Linkousm ade no representaéonsattdal,and m akesno tepresentationsin any ofhism oving

   papers,thatheisunabletopaythejury'sawatd.TheSupremeCourtofVirginiahasheldthat
   Kç
    while evidence ofnetwot'tlniszelevant...the lack ofevidence ofthe wzongdoer'snet

   worth doesnotitselfdefeatthe punitive award.''FIi o v.CSC A ssoc.,262 Va.48,58,547

   S.E.2d216,226 (2001).H ence,anylack ofmiégadngevidenceregatdingLinkous'sûnancial
   wot'th forthejuryozcout'tto considerissolelythefaultofLinkousand willnotsetveto




                                              25
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   teducethepunidveawazds.4Indeed,thebutden ofptoving fm ancialwotth ison defendants,

   asotherwise,ffdefendantsw ould befzee to exercise the strategically logicalchoiceof

   abstaining from introducing such evidence and then challenging thepropriety ofany

   substanéalawardpost-verdict.''Ko v.Mcclune,59Va.Cir.74(2002)(ciéngMarkowitzv.
   Re/MaxPzeferzedPtopetdes,42Va.Cit.292(1997))9Showkerv.Kratzer,77Va.Cit.389
   (2009)(nodngthatdefendantshavethegreatestaccesstotheirfmancialinfotmadonandany
   lack ofevidence regarding financialw orth orhardsllipsw111notserveto reduce purlidve

   awards).In sum,thepunidvedamagesaward,likethecompensatoryaward,issubstandal,but
   notso substanéalasto shock theconsçienceofthecourtorsuggestthejurywasinfluenced
   bypassionorprejudiceorinsomewaymisconceivedormisunderstoodthefactsorthelaw.
                                                           C.

           N otw ithstanding the court'sconclusion thatneitherdam agesawatd isexcessiveor

   deserving ofrenaitdtutunderVirginialaw ,itm ustdeterm ine,by reference to fedetal

   4In supportofhism odon forleave to proceed in forma pauperis,T,inlrousincluded in llisapplicadon to the court
   financialinformadondeclaredlmderpenaltyofpezjurysuggesti
                                                          ngthatheistmabletosatisfythejudgmentsagainsthim.
   ECF No.223.'
              I'
               heM ancialdisclosuresindicatethatT,
                                                 inkousreceivedapproximately$13,000in retirementfnnds,most
   ofwhich heclqim s.wenttowardchild suppoztand payingoffanotlzertm speco eddebt.Tainlrousclqim stohavenoothez
   assets.In evaluatingtheallegedexcçssivenessofap''nidvedamagesawatd,Vizgizziacourtshaveatlafhrm ativedutyto
   review thep'lnidvedam agesawarditzlightofthedefendant'sabilitytopayasdeterminedbylziscurrentG ancialworth,
   measuredassularyplusassets.Showkerv.Kratzer,77Va.Cir.389(2009)(citingPoulstonv.Rock,251Va.254,264,
   467S.E.2d479,486(1996).Indeed,ffgejvidenceoftheO ancialcondidonofadefendantisrelevantontheissueof
   puniti
        vedamagesandproperlymaybeconsideredbythejurp''HamiltonDev.Co.v.BroadRockClub.lnc.,248Va.
   40,44,445S.
             E.2d140,143(1994)(citingWeatherfordv.Birchett158Va.741,747,164S.E.535,537(1932)).ffln
   general,p'tnidvedam agesshouldbesufficientto plm ishanddeteradefendantbutshould notbeso izighasto destroy
   him O anciallp''Showker,77Va.Cir.at389(citingPoulston,251Va.at264,467S.E.2dat486).ffn erefore,pllnidve
   damagesmustbetailoredwiththenetworthandl'niqueO ancialstamsof(  the)defendutinmind,tobestacllievethe
   desiredpeclaniac effect.''LcLNotwithstanding thedutyon thepartofthecotuttoconsiderthe$250,000p'Anidveaward
   inlightofTsnkous'abilitytopay,thecoul'tisboundbytherecordbeforethejtuy.The'
                                                                             refoze,despitethefactthat
   T.
    inkous'post-ttialM ancialdisclosuressuggestllisinabilityto pay,tlzisinform aéon w asnotentered into evidenceoz
   otherwiseconsideredbythejuryandthus,consequently,carmotbeconsidezedbythecout't.Coalsonv.Canchola,287
   Va.242,251,754S.E.2d525,529(2014)(cidngCondominillm Servs..lnc.v.FirstOwners'Ass'  nofFortySLxHtmdred
   Condo..Inc.,281Va.561,581,709S.E.2d163,175(2011)rf(A defendantwhohasfailedtopresentevidenceofhis
   abilitytopayattrialjcannotprevailbeforethisCourton(his)cbim thattheamountofplxnidvedamageswouldbe
   oppressive/l).


                                                          26
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   standardsdeveloped undetRule 59 ofthe FedetalRulesofCivilProcedute,whetheta new

   ttialshould be ozdeted.AtlasFood S s.& Servs.Inc.v.CtaneN at.V endozs Inc.,99 F.3d

   587,594 (4th Cir.1996).UnderRule59oftheFedezalRulesofCivilPtocedute,adisttict
   courtmaysetasidethejury'sverdictandgtantanew ttialonlyif<r(1)theverdictisagninstthe
   clearweightoftheevidence,oz(2)isbaseduponevidencewhichisfalse,oz(3)willresultina
   miscarriageofjusdce,eventhoughthezemaybesubstanéalevidencewllichwouldprevent
   thedirecdonofaverdict.''Bennett,432F.supp.zdat602(cidngAtlasFoodS s.& Servs.
   lnc.,99F.3d at594).fçrllo receiveanew ttialon liabilityand damages,thejuryvezdictmust
   bemadeexcessivebyfpassionandprejudicespringm
                                              'gfrom indulgence,in thejuryroom,in
   such feelings,gthatjmaynotbecuted byaremitit'
                                               ur,butonlyanew tHal.'''Id.at602
   (quodngFordMotoêCo.v.Mahone,205F.2d267,273(4thCir.1953)).
         Importantly,becausçthereisnoevidencethatthejurywasswayedbypassionor
   prejudice,anew trialwould beinappropriateevenifthecotuthad foundthedamagesawards
   excessive.1d.at603rfhM ithoutadditionalevidenceofpassionandprejudicebythejury,an
   excessiveverdictaloneisinsufhcienttoreqllireanew t.
                                                     rial.?).Notonlyisthecotutunableto
   discernanyevidenceofpassionozprejudice,butLinkousalsofailstodirectthecoutt's
   attention to anysuchinfluenceon thejury.Instead,hezeliesentirely on unsupported,
   conclusory assertions,asw ellason alleged errotsofthecourtpresiding overtheproceeding.

   W hatism ore,thesubstandalsize ofthe awardsalone doesnotm andate anew trial.1d.at604

   (adopdngTftheprew ilingview ...thatthesheersizeofajuryawarddoesnot,byitself,
   demonstzatethatitwastheresultofpassion orprejudice,''especiallyffgiventhelackofa



                                            27
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   palpableobjecévestandardintheFourthCitcuitbywlaichtomeastueawardsforpain,
   suffering,and emoéonaldistress').
         Futtlaetmote,asdiscussedatlengthinfra,thejktty'sawardsarenotagainsttlaecleat
   w eightofthe evidence.Linkoussexually assaulted and battered Clehm twicein hetplaceof

   em ploym ent.Viewed in thelightm ostfavozableto Clehm ,thetesdm ony suggeststhatshe

   suffered fzom severe em oéonaltraum a asaresultofLinkous'conductand thatthisttallm a

   persisted overan extended petiod ofHm e.The courtcannotconcludethatthetestim ony and

   evidenceadducedattrialisinsufhcienttosupportthejudgments.Taitnkousdoesnotcbim that
   theverdictsw ere based on falseevidence,and nothingin the colzrt'sreview oftherecord

   suggeststhe awe dswerebased on falseevidence,thereby leaving the second prong

   unfulx ed.Lastly,allowingfortheawardstostandwillnotzestzltinamiscatriageofjusdce.
   Therecotdreflectsthatthejury'sawardscomportwit.hthecourt'sinstrucdonsregarding
   com pensatory and punitive dam ages,and the2:1rado between the respecdve aw ardsfalls

   within theconsdtudonally acqeptablerange,and thusisnotffunreasonable otstrikingly outof

   proportion.''Baldwin,273Va.at659,643S.E.2dat707.Thejuryhadsufhcientevidence
   beforeitto conclude thatLinkousproxim ately caused severe em odonalharm ,and the court

   haspreviouslyconcludedthatthedamagesthejuryawardedwerenotexcessive.Thus,
   Linkousfailsto m eetthe thitd prong.In s'lm ,therecord containssuffciented dence

   suppoe ng thejury'sawards,thereisno clnim thattheevidenceptoduced attdalisfalse,and
   theawardsare notsttilcingly outofpropordon such thatthey failto com pottwith due

   process.The factsand circum stancesofthiscase do notw arrantanew trial,therefore

   Linkous'm odon istherefore D EN IED .




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                                              111.

         Inthealtetnadve,Linkousmovesfozzeliefftom thejudgmenttendetedinthiscase
   ptusuanttoRule606$(6)oftheFederalRulesofCivilPtocedute,proffelingthesame
   groundsasthosein hism otion foranew trialunderRule 59.FederalRtzle ofCivilPzocedtue

   60$)authorizesaclisttictcourttogzantrelieffrom afmaljudgmentforfiveenllmetated
   reasonsorforf'anyotherreasonthatjustisesrelief''Fed.R.Civ.P.60q$(6).O ethis
   catchallprovision includesfew texttzallim itations,itscontextreqlliresthatitm ay beinvoked

   onlyinTfextraordinarycircumstances7'whenthereason forrelieffrom judgmentdoesnotfall
   withinthelistofenllmeratedreasonsgiveninRule60$)(1)-(5).SeeLil'eber v.Health
   Servs.Ac tzisiéon Co .,486U.S.847,863 n.11,864 (1988).Indeed,in addidon to the
   explicitlystated requirementsabove,theFourth Citcuitrequiresfrom theparty flling tie

   modonapreliminaryshowingof:(1)Hmeliness,(2)ameritoriousclsim ozdefense,(3)lack
   ofprejudicetotheopposingparty,and(4)excepdonalc/cumstances.See e..,Hemanv.
   M.L.Mkt.Co.,116F.3d91,94n.3(4thCit.1997);Hollandv.Vir'niaLeeCo.,188F.R.D.
   241,252 (W.D.Va.1999)(<Toramovant'scaseto succeed,thematetialoffered in support
   ofhisRule60q$(6)motionmustbeN ghlyconvincinp'').Ifthesethresholdrequirements
   aremet,onlythendoesthecotutexaminewhetheranyotherreasonjusdûesreliefunder
   Rule609$(6).Dowellv.StateFarm Fire& Cas.Auto.Ins.Co.,993F.2d46,48(4thCir.
   1993).Ifamovantseeksrelieffrom judgmentbased on Rule604$(6),hemustshow thatllis
   reason forseeking reliefcould nothave been addressed on appealinstead.Aikensv.In am ,

   652F.3d496,500-01(4thCir.2011)(quodngLiljeberg,486U.S.at863n.11(1988))9see
    enerall 11 CharlesAlan W right,At-thtu R.M iller& M aryK ay K ane,FederalPracdceand


                                               29
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   Procedurej2864,at359-60& n.25(2ded.1995)(collecdngcasesl.sItiswellestablished
   thatgtantingteliefftom judgmentpm suanttoRule60$)isamattetcommittedtothe
   disczeéon ofthe districtcom t.SeeU nivezsalFilm Exchan es Inc.v.Lust,479 F.2d 573,

   576(4th Cir.1973).
          Linkouscontendsthathedeservesteliefftom judgmentfozallthesamereasonshe
   averredasgroundsostensiblyjustifyinganew trial.However,evenifthecourtwereto
   assum e thatLinkousm eetsalltheFourth Citcuit'stlueshold requirem ents,hehasfailed to

   demonsttateanyTfextraorclinarycitcumstances''underRule60q$(6).W hilethelegaltheories
   within Linkous'pcq K m odonsaredifficultto discetn,courtstradidonallyview pro se
                     -




   pleatlingswithffspecialjudicialsolicitudç.''Seee.g.,Harrisonv.U.S.PostalService,840F.2d
   1149,1152(4thCir.1988);Hainesv.Kerner,404U.S.519,520(1972)9seealsoSmit.hv.
   Smith,589 F.3d 736,738(4th Cir.2009)rtiberalcons% ctionofthepleaHingsis
   pnrlicularlyappropriatewheze...thereisapzo secomplaintraising civilrightsissues.').
   H owever,therequirem entofliberalconstrucdon doesnotm ean thatthe couttcan ignorea

   clearfaillzre in the pleading to allege factswhich setfort.h a clnim cognizablein a fedetal

   clisttictcouzt.W ellerv.De 'tofSoc.Servs.,901F.2d387(4thCit.1990).Here,Linkous'
   clnim snm ountto little m oze than bald asserdonsand unsubstantiated conclusions,and the

   courtcannotm ake Linkous'argum entsforhim .Thisisespecially truewhete,ashete,the

   apertureforreliefundetRule60q$(6)isextremelynarrow.Inshort,Linkous'modonfot
   relieffrom judgmentispredicatedupon:(1)thecourt'sderlialofhismodon to continue,

   5chiefJusdceRelmquistnotedinllisseparateopinionitzLil'eber v.HealthSerdcesAcuisidonCo ordonthat,
   ïfgtjhisverystzictinterpretadonofRule60$)isessendaliftheftna11t),ofjudgmentsistobepreserved.TogiveRule
   60@ (6)broadapplicadonwouldtmderminenllmerousothernzlesthatfavorthegzzalityofjudgments....''486U.S.at
   873gkelmquist,C.   J.,clissent
                                ing).


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   ECFNo.198,whichhecontendspreventedhim from Tfproperlyassistlingl''in ilisdefenseat
   trial,ECF No.225,at2-3,(2)hisinabilitytohaveffregularandfrequent''communicadon
   withSttelka,Id.at2,(4)hisinabilitytoTfzeasonablypzepatefozttial,''ECFNo.227,at1-2,
   and(4)prejudiceresuldngllisbeingteqllitedtoparécipateinthettialftom acorrecdonal
   facility.ECF N o.227,at1-2.The courthasalzeady ad/ essed m ostofLinkous'azgum ents

   infra,and atthe risk ofretreading o1d gtouhd,witlbriefly addtesseach ofllisclnim sin tutn.

   Linkous'fltstthreeclaimswillbeaddressedcollecdvely,andfourthTfptejudice'?clnim
   separately.

                                                  A.

         W ith respectto thecourt'sderlialofthem odon to cone ue,Linkousdoesnot

   speciûcally allegehow the court'sdenialofhiseleventh-houtm oéon to coninue consdtm es

   an ffexttaotdinarycircumstance''warrane grelieffrom judgment.Instead,hereliesonvague
   and conclusory statem entsabouthisabstractneed form oretim ewithout,forexam ple,

   giving exam plesofthe defensesthatcould have been asserted oridendfying potenéal

   witnesseshecould have called ifgiven additionalfim e to do so,orindicadng how the

   substance oftheittestim ony would have changed the outcom eofthe case.Linkous'vague

   allegadon thathewasffdettied areasonableopportunityto prepare''and wasunableto

   adequately commulcatewith hisguazdian adlitem do notsufûceto show hèwasprejudiced
   by the lack ofaddidonaltim eto prepare.Linkousm oved to condnue the ttialfourm onths

   afterhewasnodhed ofthetdaldateand justoneweekbeforethetdalwasdueto
   com m ence.Therecord indicatesthatStrelkaw asappointed by the courtto serve asLinkous'

   guardian ad litem and flled a noéceofappeatance two yearsand fourm onthsbeforetdal.




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   W hatismore,Linkous'liabilitywasestablishedandtheonlyissuebeforethejulyconcerned
   theplaindff'sdam ages.In otlaerw otds,the casewasnotpatdcktlarly com plex,lasting less

   than one day and involved only m odestdiscovery.SeeU nited Statesv.Bush,820 F.2d 858,

   860-61(7thCit.1987)(holdingthatthedistrictcokutdidnotabuseitsdisctedonindenying
   a conénuancewhen the defendanthad three m onthsto ptepate fota sim ple case,w1t11one
                                                                                    .




   defendant,in attialthatlasted thteedays).lndeed,Linkousreptesentedto thecouttthathe
   was fully sadshed with Strelka'srepresentadon ofhim and did nottaise any ofthe

   aforem entioned issuesatG AIorreassettany ofthe concernscontained in the m odon to

   conénuewllich thecourtdenied.W ithoutaclearerexplanadon from Linkousofwhat,if

   any,hardship accm ed asaresultofthecourt'srefusalto grantthecontinuancein queséon,

   thecourtcannotconcludethathewasprejudicedbysaidrefusal.
                                                   B.

         W ithrespecttoLinkous'sclnim thathewasffoverlyprejudiced''bybeitagreqllitedto
   pne cipatein hiscivilttialftom ptison,the cotzttacknowledgesatthe outsetthatideally,of

   course,Linkousw ould haveappeared in person.M uham m ad v.W arden,Baltim ote CityIail,

   849F.2d107,111-12(4th Cir.1988)(explainingthatTTlnjotonlytheappearancebutthe
   realityofjusticeisobviouslythreatened''byaninmate'sabsencefotllisownttiall.However,
   an incarcerated lidgant'srightto bepresentatthetrialofacivilacdon isnotabsolute.That

   rightisqualified by Tfcountervailing consideradonsofexpense,sectuity,logisdcs,and docket

   controlthatpreventaccorcling prisonersany absoluterightto be present.''M uham m adv.

   W arden.BaltimoreCitylail,849F.2d107,111-12(4thCir.1988)(citingPricev.Johnston,
   334U.S.266,285-86(1948)(incarcetation isavalid basisforqualifyingtherightpersonally

                                              32
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   toplead andmanageone'sown causein federalcourtl);seealso W olffv.McDonnell,418
   U.S.539,576(1974).TheFollrfhCitcuithasheldthatdisttictcourtsshouldconsider,ata
   minimum,(1)whethertheprisoner'spresencewillsubstanéally flat'fhertheresoludon ofthe
   case,and whetheralternadvewaysofproceeling,such asttialon depositions,offeran

   acceptablealteznative;(2)theexpenseandpotenéalsecut'ityriskentailedinttanspoongand
   holding theprisonerin custody forthedutation ofthetdal;and (3)thelikelihoodthatastay
   penclingtheprisoner'steleasewillprejudicetheplainéff'sopportazrtitytopresentllisorher
   cbim ,orthedefendant'srightto aspeedy resoludon ofthe cbim .H awksv.Tim m s,35

   F.Supp.2d 464,465-466(D.Md.1999)(cidngMuhapmad,849F.2d at107).Ultimately,itis
   within the discredon ofthe courtto dete= ine whetherincarcerated civilEdgantsshould be

   presentorotherwisettansported forttial.M uhammad,849F.2d at112.<<(Fjfsecudng the
   pdsoner'spzesence,atllisown orpublicexpense,isdetet-m ined to beinfeasibley''thecolitt

   m ustconsiderdfotherreasonably available alternaéves.''Edw ardsv.Lo an,38 F.Supp.2d

   463,467 (W.D.Va.1999)(cidngMuhammad,849F.2d at111,113);Joynetv.Byington,No.
   7:15CV00526,2017WL 807208,at*1(W.D.Va.Mat.1,2017).
         Ptocuring Linkous'physicalpresence attrialorconénlzing the ttialuntllhisrelease

   wereinfeasible opdons.Linkouswasincarcetated atFCIButnerin N orth Carolina,outof

   thedisttictand severalho< sfrom the place oftdalin Roanoke,Virginia.M oreover,because

   Linkousstillhad 11yearsofprison tim eto serve atthe Hm eoftdal,a stay wasnot

   appropriate.Given thatthe casew aslim ited to theissue ofClehni'sdam ages,logisdcs,

   secudty,and expenseplninly outweighed Linkous'interestin being presentattrial,given the

   availability ofvideo conferencing.Indeed,Linkousdid notexpressanyintenéon to tesdfy at


                                              33
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   ttial.AIIAhingsconsidered,Linkous'pqtticipadon in thettialviavideo confetencing ftom his

   placeofincatcetation w asthe m ostteasonable opdon.SeeM ontesv.Rafalow ski,N o.C 09-

   0976RMW ,2012W L 2395273,at*2(N.D.Cal.June25,2012)Soldingthatdespitesome
   dtawbacks,Tfvideoconferencing nonetheiessfacilitatesploinéff'sm eaningfulparécipadon at

   tzial:plaindffisabletotesdfy,pzesenteddence,andlookeachjurorintheeye);United
   Statesv.Baket,45F.3d 837,843(4th Cit.1995)9seealsoEdwards,38F.Supp.2d at467-68
   (holdingthat<fwithvideoconfetencing,gplaintifflwillbevittazallyptesentathisttialandwill
   havetheabilitytoconfrontwimesses,addtessthejuty,andpardcipatefully'').
         The cout'thad successfully utilimed video conferencing forptettialproceedings,

   evidendaryheatings,andwitnesstestimonyforjuryttialsinthepast.Uponinqtu'ry,thecourt
   wasadvised thatofficialsatFC1ButneritzN 0:th CarolinawhereLinkouswasconfined were

   willingand ableto arrangeforllispaldcipaéonin thettialviavideo conferenciné.OnM ay8,
   2018,m orethan threem ontisbeforetdal,thecourtentered an ordetdirecdngthew arden
   ofFC1Butnerto m ake Linkousavailableby video conference fortdaland Glt-therditected

   theW arden to appointa counselororothercorrectionaloffketto serv'
                                                                   e asa designated

   contactforthecourtroom clerk to iniéate thevideo conference.ECF N o.190.Linkous

   zaisednoHmelyobjectiontothisorder,insteadmovingtocondnuethecaseaweekbefore
   trial.Linkouswaspresentbyvideo confezence forthe ene ettial.Further,Linkouswas

   com petently represented by lliscourt-appointed guardian ad litem ,Thom asStrelka,w ho

   provided lnim with extensive assistancethtoughoutthelidgation process.Strelka,assisted by

   NorvellW inston W est,Esq.,receivedresponsesto cliscoveryrequests,filedjtuyinsttucdons
   and pte-ttialm otions,and m anaged ptettialdisclosureson Linkous'behalf.H ealso served as



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   Linkous'trialcounsel,presendng opening and closing statem ents,ctoss-exam ining

   witnesses,andobjecdngatvariouspointstotestimonyandtheadmissibilityofvatious
   exllibits.ln othezworzs,despitehisphysicalabsence,Linkouswasstillableto appearand
   waseffecévelyrepresented O oughoutthe ttial.Therecord also dem onstratesthatLinkous

   wasable to conferwith hisguardian ad litem privately atvadouspointsdllring the tdal.

   Again,Linkousneverasked to testify atttial.Therefore,asto Linkous'clnim thatllis

   incarceradonandinabilitytoappearinpersonwereprejudicialtohisinterestsattrial,the
   courtfindsno evidence oftbisin therecord.

         In s'um , Linkoushasfailed to provide supportorexpbin in any detaillzisconclusory

   allegaéonconteséngthejurfsverdictsinthiscase.Thecourt'sownzeflecdononthetrial
   and thorough review oftherecord lead itto concludethatLinkous'asseo onsatewithout

   merit,andnothinginhismodonoffersaffreasonjusdfyingrelief''ftom judgmentas
   requiredbyRule609$(6).Fortheforegoingreasons,Linkous'modon forrelieffrom
   judgmentisDEN IED.
                                             1V.

          Fotthesereasons,the cout.
                                  tV IID EN Y Linkous'm odon for anew trial,ECF N o.

   224,pursuanttoRule59,andlzismodonforreheffrom judgment,ECFNo.226,pursuant
    toiule60q$(6)oftheFedezalRulesofCivilProcedure.
         A n appropdate O rderwillbe entered thijday.
                                                   Entered: /'a- .-ft/ -- z g rz

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